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                                             United States Bankruptcy Court
                                                          District of Delaware

          In re:     W.R. Grace & Co.
                     Case Number 01-01140

                                                                                  Court ID (Court use only)

                   NOTICE OF TRANSFER OF CLAIM OTHER THAN FOR SECURITY

A CLAIM HAS BEEN FILED IN THIS CASE or deemed filed under 11 U.S.C. § 1111(a). Transferee hereby gives notice
pursuant to Rule 3001(e)(1), Fed. R. Bankr. P., of the transfer, other than for security, of the claim referenced in this
evidence and notice.

Name of Transferee                                                                Name of Transferor
Restoration Holdings LTD                                                          Gaylon Distributing Inc

Name and Address where notices to transferee should be sent:                      Court Record Address of Transferor
                                                                                  (Court Use Only)
Restoration Holdings LTD
325 Greenwich Ave – 3rd Floor
Greenwich, CT 06830
Attn: Claims Processing (Bankruptcy)

Phone:
203.769.5795
Last Four Digits of Account #:                                                    Last Four Digits of Account #:

Name and Address where transferee payments                                        Name and Current Address of Transferor
should be sent (if different from above)                                          Gaylon Distributing Inc

                                                                                  10310 S. Dolfield Road

                                                                                  Owings Mills, MD 21117-3522



                                                                                  Claim Amount: $28,581.79
Phone: Same as Above                                                              Phone:

Last Four Digits of Account #:                                                    Last Four Digits of Account #:

                                                                                  Court Claim # (if known):
                                                                                  Date Claim Filed:

I declare under penalty of perjury that the information provided in this notice is true and correct to the best of my knowledge and belief.

By: /s/David P. Tonner                                                            Date:                          05/03/2010
Transferee/Transferee’s Agent

Penalty for making a false statement: Fine of up to $500,000 or imprisonment for up to 5 years, or both. 18 U.S.C. §§ 152 & 3571.

                                        ~~DEADLINE TO OBJECT TO TRANSFER~~

The alleged transferor of the claim is hereby notified that objections must be filed with the court within twenty (20) days of the mailing
of this notice. If no objection is timely received by the court, the transferee will be substituted as the original claimant without further
order of the court.

Date:
                                                                                             CLERK OF THE COURT
